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                   Exhibit A
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            In re National Prescription Opiate Litigation: MDL 2804-Track Three
                            Summary Sheet of Concise Issues Raised

Motion:    Defendants’ Daubert Motion to Exclude the Opinions Offered by Caleb Alexander

Concise Description of the Issue: Should this Court exclude the opinions of Caleb Alexander
in Phase One of the Track 3 trial?

Answer: Yes. Alexander’s opinions should be excluded for the same reasons briefed in Track 1.

In addition, Alexander’s abatement opinions should be excluded in Phase One because the jury
will not consider abatement issues and therefore his abatement opinions are irrelevant in Phase
One.

Alexander also reported that in additional to his abatement opinions, he reviewed literature with
respect to certain potential indicators of high-risk opioid distribution. This list was derived from
the opinions of another of Plaintiff’s experts, Carmen Catizone, and should be excluded for the
same reasons as briefed in support of Defendants’ Motion to Exclude Catizone.

In addition, Alexander admitted that he made no attempt to apply his discussion of indicators to
Defendants, and was instead leaving that to be done, if at all, by other experts such as Catizone.
If the Court grants Defendants’ motion to exclude Catizone, it should also exclude Alexander’s
related opinions as they would have no connection to Defendants and would be irrelevant and
would not assist the jury.

Previous Briefing and Opinions: The previous briefing from Track One on this issue is located
at ECF Nos. 1865, 1895, 1899, 1956, 1974, 1999, 2000, 2175, 2443, and 3007. This Court’s
opinion is located at ECF No. 2519.
